                                                           Phillip Paul Weidner
                                                           Weidner & Associates, APC
                                                           943 West Sixth Avenue, Suite 300
                                                           (907) 276-1200
                                                           Attorneys for Plaintiff



                                                                            IN THE UNITED STATES DISTRICT COURT

                                                                                  FOR THE DISTRICT OF ALASKA

                                                           CHRISTOPHER J. McINTYRE,           )
                                                                                              )
                                                                     Plaintiff,               )
                                                                                              )
                                                                v.                            )
                                                                                              )
                                                                                              )
                                                           BP EXPLORATION & PRODUCTION, INC., )
                                                           BP AMERICA PRODUCTION COMPANY,     )
                                                           JOHN DOES 1-20,                    )         Case No. 3:13-cv-00149-SLG
                                                                                              )
                                                                     Defendants.              )
                                                                                              )
                                                           ___________________________________)

                                                                                   SECOND AMENDED COMPLAINT

                                                                Comes now Plaintiff CHRISTOPHER J. MCINTYRE, by and through

                                                           counsel, Phillip Paul Weidner of Phillip Paul Weidner &
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                                                           Associates, APC, and hereby states, claims, pleads, alleges and
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                                                           complains as his cause(s) of action in the instant matter of

                                                           follows;




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                                                                                 I. JURISDICTION and PARTIES

                                                             1.         At all times relevant hereto, Plaintiff Christopher

                                                                  McIntyre, was and is a resident of the State of Alaska,

                                                                  located within the Third Judicial District. Plaintiff

                                                                  Christopher McIntyre was and is the victim of the culpable

                                                                  conduct of the Defendants herein, as he has suffered past

                                                                  economical damages and will continue to suffer economical

                                                                  damages as a result of said culpable conduct.        This

                                                                  culpable conduct of Defendants includes that, as stated in

                                                                  the causes of action set out, infra, including breach of

                                                                  contract, breach of implied contract, unjust enrichment,

                                                                  fraud, appropriate of trade secrets and rights,

                                                                  appropriation of patent secrets and rights, in reference to

                                                                  his unique ideas, innovations, designs, concepts, devices,

                                                                  calculations, inventions, methods, which he provided to the

                                                                  Defendants, which they utilized and/or misappropriated,

                                                                  said provision to the Defendants in circumstances including

                                                                  reasonable expectations of confidentiality, compensation

                                                                  and protection of trade secrets and patent rights, by which
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                                                                  he was, and is, entitled to the relief sought, and for
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                                                                  which they   have refused and are refusing to compensate

                                                                  him; including great benefit to the Defendants so as to

                                                                  constitute unjust enrichment and so as to constitute such

                                                                  culpable conduct by the Defendants.

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                                                                       To the best of Plaintiff’s knowledge, information and

                                                                  belief, at all times relevant hereto, the Defendant(s), BP

                                                                  EXPLORATION AND PRODUCTION COMPANY, INC. was and is a

                                                                  business entity doing business in, and located in the Third

                                                                  Judicial District, State of Alaska and/or doing business in

                                                                  the United States of America, so as to touch and concern

                                                                  the State of Alaska, and communicated with Plaintiff and

                                                                  solicited and requested proposals and input and information

                                                                  from Plaintiff within the Third Judicial District of

                                                                  Alaska, which solicited and requested and elicited the

                                                                  information and conduct referenced in paragraph 1. supra,

                                                                  and herein.

                                                             2.        By naming said Defendant(s), Plaintiff intends to sue

                                                                  all culpable predecessors and successors in interest of

                                                                  said Defendant(s); subsidiaries, subdivision, agents,

                                                                  and/or affiliated companies of said Defendant(s), all

                                                                  holding companies of said Defendant(s), and the

                                                                  predecessor(s) and successor(s) in interest and related

                                                                  culpable person(s) and culpable business entities of same,
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                                                                  and all culpable agents, servants, and employees, for their
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                                                                  culpable conduct complained of herein.

                                                             3.        To the best of Plaintiff’s knowledge, information and

                                                                  belief, at all times relevant hereto, the Defendant(s), BP

                                                                  AMERICAN PRODUCTION COMPANY was and is a company doing

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                                                                  business in and located in the Third Judicial District,

                                                                  State of Alaska and/or doing business in the United States

                                                                  of America which touched and concerned the State of Alaska,

                                                                  and communicated with Plaintiff and solicited and requested

                                                                  said proposals and information and input from Plaintiff

                                                                  within the Third Judicial District of Alaska.        By naming

                                                                  said Defendant(s), Plaintiff intends to sue all culpable

                                                                  predecessors and successors in interest of said

                                                                  Defendant(s), subsidiaries, subdivision(s), agents, and/or

                                                                  affiliated companies of said Defendant(s), all holding

                                                                  companies of said Defendant(s), and the predecessor(s) and

                                                                  successor(s) in interest and related culpable persons and

                                                                  culpable business entities of same for their culpable

                                                                  conduct complained of herein.

                                                             4.        Defendants, JOHN DOES 1-10, Individually and as

                                                                  Officers, Agents, Directors, and/or Employees and/or

                                                                  Independent Contractors of Defendants were director(s)

                                                                  and/or officer(s), and/or employees of and/or employed by

                                                                  and/or independently contracted by the Defendants BP
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                                                                  Exploration and Production, Inc. and/or BP America
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                                                                  Production Company and are and/or were individuals doing

                                                                  business in the State of Alaska and/or doing business in

                                                                  the United States of America to touch and concern the State

                                                                  of Alaska and were acting in the Course and/or Scope of

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                                                                  their Employment and/or Agency and/or contract(s) at the

                                                                  time the Plaintiff entered into a contract or implied

                                                                  contract with said Defendants and/or provided information

                                                                  and input in response to said proposal(s) and request(s)

                                                                  for information and input.      Suit is brought as to said

                                                                  Defendants and as to related Defendants individually and/or

                                                                  are under respondent superior liability/vicarious

                                                                  liability.   John Does 1-10 and 11-20 and the BP Defendants

                                                                  acted in a negligent and/or willfully reckless and/or

                                                                  willful and wanton and/or fraudulent manner so as to breach

                                                                  duties owed to Plaintiff in a culpable fashion with

                                                                  intention and/or reckless and/or willful disregard of the

                                                                  consequences and which breach was and/or is a proximate

                                                                  cause of and/or substantial factor in causing Plaintiff’s

                                                                  damages.

                                                             5.        Defendants, JOHN DOES 11-20 are corporations and/or

                                                                  business entities and/or partners who are and/or were

                                                                  entities doing business in the State of Alaska and/or doing

                                                                  business in the United States of America to touch and
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                                                                  concern Alaska and were acting individually and/or
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                                                                  vicariously directly and/or via acts of their employees and

                                                                  agents in the course and/or scope of their employment

                                                                  and/or agents at the time the Plaintiff entered into a

                                                                  contract or implied contract with said Defendants and

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                                                                  produced said information and input.           Suit is brought as to

                                                                  said Defendants individually and under respondent superior

                                                                  liability/vicarious liability.

                                                             6.        Plaintiff by naming said Defendant(s), intends to sue

                                                                  all predecessors and successors in interest of said

                                                                  Defendant(s),   all subsidiaries, subdivision, agents,

                                                                  and/or affiliated companies of said Defendant(s), all

                                                                  holding companies of said Defendant(s), and the predecessor

                                                                  and successors in interest of same and all related culpable

                                                                  persons and culpable business entities for their culpable

                                                                  conduct complained of herein.

                                                             7.        It is the intent and purpose of the filing and service

                                                                  of this Complaint to give notice to all culpable

                                                                  Defendants, and to preserve Plaintiff’s right to obtain

                                                                  relief from same, and all named Defendants are requested to

                                                                  notify all culpable Defendants and parties of this lawsuit

                                                                  and Plaintiff’s causes of action.

                                                             8.        BP Exploration and Production, Inc. and BP America

                                                                  Production Company and their parent(s) and/or
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                                                                  subsidiary(ies) in interest and/or predecessor(s) and/or
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                                                                  successor(s) in interest and/or alter ego(s) of said

                                                                  business entity(ies) and employees and agents and JOHN DOES

                                                                  1-20 are collectively referred to herein as “Defendants”.



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                                                             9.         In addition to the specific facts alleged herein,

                                                                  certain exhibits [1 to 64] at Docket 52, and filed with

                                                                  this complaint as Well as an Affidavit by Plaintiff

                                                                  Christopher J. McIntyre, and said Exhibits and Affidavit

                                                                  and the information contained therein (at Docket 52) and

                                                                  the prior exhibits of record filed with Plaintiff’s prior

                                                                  Complaints are incorporated by reference, as if fully set

                                                                  Out herein, so as to provide appropriate Notice to the

                                                                  Court and to the Defendants of the factual issues in

                                                                  dispute, the factual basis for Plaintiff’s causes of

                                                                  actions, and the material issues of law and fact that may

                                                                  be in dispute so as to require that a Jury resolve said

                                                                  factual issue(s), and to defeat any Motion to Dismiss under

                                                                  Rule 12 and/or any Motion for Summary Judgment under Rule

                                                                  56.

                                                                                    II. PREAMBLE REGARDING FACTS

                                                             10.        On or about April 21, 2010, the Macondo Oil Well

                                                                  (herein “Well”) off of the coast, on and/or through the

                                                                  ocean floor and Lower strata, and in ocean water(s) of the
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                                                                  Gulf of Mexico, exploded, including        subsea Blowout(s) and
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                                                                  explosion(s), below and on the ocean floor, and below and

                                                                  between and on the surface of the ocean and drilling rig

                                                                  apparatus, and further with subsea and/or subsurface damage

                                                                  to the environment and uncontrolled discharge(s) of

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                                                                hydrocarbon(s), subsea and/or subsurface, and/or on the

                                                                surface, into the ocean waters, and therein, and thus to

                                                                the ocean surface, and ocean shore, bays, tributaries, and

                                                                wetlands which caused the start of, and the continuation

                                                                of, the worst Oil Spill in the history of the United

                                                                States[said Blowout(s), explosion(s), and discharge(s)

                                                                herein “Event”].The BP Defendants “capped” the Well on July

                                                                15, 2010.

                                                             11.       Defendants BP Exploration, Inc. and/or BP America

                                                                Production Company were directly in charge of, and

                                                                responsible for the event including the Macondo drilling

                                                                rig, drilling apparatus, drilling activities, and Well, and

                                                                Blowouts and explosions of the Well and drilling platform,

                                                                the resulting discharge(s) of the oil and the pollution,

                                                                and further were vicariously in charge of and/or

                                                                responsible for same, and responsible for all culpable

                                                                conduct regarding same, by virtue of the actions of their

                                                                employees, servants, and agents, and related parties,

                                                                persons, and entities, including the other Defendants.
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                                                             12.       Due to the catastrophic nature of the Event, and the
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                                                                ongoing pollution, the Event constituted a major national

                                                                emergency: By which it was imperative, that person(s)such

                                                                as the Plaintiff, who would be able to assist the

                                                                Defendants in “Capping” the Well, i.e. correction of, and

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                                                                preventing and slowing of, the Blowout and the discharge of

                                                                hydrocarbon(s) into the ocean waters, and onto the shore,

                                                                that were ongoing, and further stopping the discharge from

                                                                the Well, by providing information as solicited and

                                                                requested (by the Defendants) to assist the person(s) who

                                                                were responsible for capping the Well, and stopping the

                                                                discharge, including the Defendants’ BP Exploration &

                                                                Production, Inc. and BP America Production Company in doing

                                                                so, proceed to do so, and help and provide information,

                                                                input, and knowledge as available and requested on an

                                                                emergency basis, without delay, in regard as to and

                                                                reliance on actual and/or implied and constructive

                                                                promises, assurance and expectations that the rights of

                                                                said persons, such as the Plaintiff Christopher J. McIntyre

                                                                who provided such information and input would be honored,

                                                                respected, protected, and preserved, and such information

                                                                be subject to reasonable compensation and said information

                                                                and rights, including trade secrets and patent rights not

                                                                be misappropriated or inappropriately disclosed or
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                                                                published, and said persons, including the Plaintiff
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                                                                Christopher J. McIntyre be reasonably compensated for same.

                                                             13.       On or about May 4, 2010, through July 9, 2010 the

                                                                Defendants named herein issued solicitation(s) and

                                                                request(s) and proposal(s) and solicitation(s) for

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                                                                information and input [proposal(s) solicitations, and

                                                                requests to the public] including the Plaintiff, i.e.

                                                                solicitation for proposals and information and input and

                                                                suggestions from persons for appropriate response(s), and

                                                                technology, to help the Defendants and related persons or

                                                                entities assigned to the event, to cap the Well and stop

                                                                the flow of oil and/or contain the discharge of oil into

                                                                the Gulf of Mexico ocean waters and on to the shore.

                                                             14.      On or about May 11, 2010, from his home in the Third

                                                                Judicial District of Alaska, Plaintiff Christopher McIntyre

                                                                began corresponding to, and with, the Defendants in

                                                                response to their request(s) and solicitations and

                                                                proposals, intrusting the Defendants with his novel and

                                                                concrete knowledge, suggestions, methods, invention,

                                                                information, devices, and concepts which were not obvious,

                                                                but were sufficient for reasonable implementation without

                                                                significant additional embellishment regarding, how to deal

                                                                with the Event and cap the Well, and contain and stop the

                                                                flow and discharge of the oil from the Well. Plaintiff
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                                                                Christopher J. McIntyre did so with the reasonable and
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                                                                enforceable expectations, and in reliance, on the fact,

                                                                that in these circumstances, Defendants would maintain

                                                                reasonable confidentiality and act in good faith and thus

                                                                would honor, respect, protect and preserve his rights,

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                                                                ideas, input as to same and would not misappropriate or

                                                                inappropriately disclose or publish same, and would

                                                                compensate him for same.

                                                             15.      By doing so Mr. McIntyre was providing the Defendants

                                                                with his own trade secrets, his own novel and concrete

                                                                ideas, concepts, methods, invention(s) and information

                                                                which would be patentable, and valuable engineering

                                                                suggestions and information which were not obvious and were

                                                                concrete, for and from which provision of same by Mr.

                                                                McIntyre, given his reasonable expectations and reliance in

                                                                doing so, and the requests from, and benefits to the

                                                                Defendants, as matter of law, and fact, a contract and/or

                                                                implied contract and/or quasi contract and/or obligations

                                                                as to unjust enrichment duties arose and exist, and Mr.

                                                                McIntyre should have been, and should be, compensated with

                                                                due regard to the value of the contributions and benefits

                                                                to the Defendants, in light of their solicitation of same,

                                                                and with due regard to the commercial value of the

                                                                information and ideas provided as Well as his patent rights
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                                                                protected, preserved, and restored, including the
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                                                                reasonable revenues due from said patent(s) with Mr.

                                                                McIntyre receiving all compensation and proceeds due as to

                                                                same.



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                                                           Plaintiff     Mr.   McIntyre     initially     responded   as    to     said

                                                           proposals/solicitations/requests         for    suggestions,    concerning

                                                           inserting the end of a pipe into the Riser.                This has been

                                                           referred     to     in    previous      complaints     and/or     previous

                                                           correspondence as a “Riser insertion tool.” The Riser insertion

                                                           tool related primarily to collecting the hydrocarbon discharges

                                                           while the free flow was occurring prior to shutdown. It was not

                                                           an integral part of Mr. McIntyre’s invention, concepts, methods

                                                           and ideas as to actually capping the Well via the use of a

                                                           ventable valve at the Riser connection. This “riser insertion

                                                           tool” concept, although used by BP regarding collection, is not

                                                           necessarily the crucial concept here, i.e. the concept regarding

                                                           actually “capping” the Well. See paragraph 16.

                                                             16.       The crucial information, ideas, techniques, designs,

                                                                inventions, trade secrets, concepts, devices, methods which

                                                                were novel, concrete and unprecedented in the industry, and

                                                                patentable and not obvious which Mr. McIntyre provided to

                                                                the BP Defendants and related Defendants, on May 14, 2010,

                                                                and/or the fruits of which, in fact, were utilized by the
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                                                                Defendants to cap the Well, which they have now
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                                                                misappropriated, to their own use and benefit, in an

                                                                unconscionable and inequitable fashion, and further which

                                                                they are now misappropriating and/or have misappropriated,

                                                                to their own benefit and/or to the benefits of related

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                                                                persons or entities, to seek a patent, is a system and

                                                                format and concept(s) and methods of capping the subsea

                                                                Well, and in particular using a method and mechanism to

                                                                install a collection and/or capping and/or shut off device,

                                                                with a ventable apparatus that could be shut off and “cap

                                                                the Well” with said component(s) connected at the Upper

                                                                Riser. See Plaintiff’s, Schematic as Exhibit 3, regarding

                                                                configuration of Well apparatus. See also, Patent

                                                                Application (Exhibit 1A, 1B, and 1C) which provides;

                                                                …

                                                            United States Patent                                                     20130020086
                                                            Application                                                                         Al
                                                            Kind Code                                                            January 24, 2013
                                                            Anderson; Paul Edward ; et al.
                                                                SYSTEMS AND METHODS FOR CAPPING A SUBSEA WELL
                                                                                                    17. Abstract
                                                                A method for capping a subsea WellBore comprises (a) identifying a subsea landing
                                                                site on the BOP or LMRP for connection of a capping stack. In addition, the method
                                                                comprises (b) preparing the subsea landing site for connection of the capping stack.
                                                                Further, the method comprises (c) installing a capping stack on to the subsea landing
                                                                site. Still further, the method comprises (d) shutting in the WellBore with the capping
                                                                stack after (c).

                                                                Inventors: …
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                                                                Applicant: …
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                                                                Assignee: BP EXPLORATION OPERATING COMPANY
                                                                LIMITED Sunbury-on-Thames
                                                                TX
                                                                BP CORPORATION NORTH AMERICA INC.
                                                                Houston

                                                                ….
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                                                                                                  Claims



                                                                 1.    A method for capping a subsea WellBore, wherein a Wellhead of
                                                                the subsea WellBore is disposed at the sea floor, a subsea Blowout
                                                                preventer (BOP) is mounted to the Wellhead, a Lower Marine Riser
                                                                Package (LMRP) is coupled to the BOP, and a Riser extends from the
                                                                LMRP, the method comprising: (a) identifying a subsea landing site on
                                                                the BOP or LMRP for connection of a capping stack; (b) preparing the
                                                                subsea landing site for connection of the capping stack; (c) installing a
                                                                capping stack on to the subsea landing site; and (d) shutting in the
                                                                WellBore with the capping stack after (c).

                                                                 2.    The method of claim 1, wherein the LMRP has an Upper end
                                                                including a Riser flex joint connected to the Riser, and wherein the
                                                                subsea landing site is a Riser adapter of the Riser flex joint.

                                                                 3.    The method of claim 2, wherein (b) comprises removing the Riser
                                                                from the Riser flex joint before (c).

                                                                …

                                                                5.      The method of claim 3, wherein the capping stack comprises a body
                                                                and a sealing mechanism, wherein the body has a central axis, a first end, a
                                                                second end opposite the first end, a main Bore extending axially from the
                                                                first end to the second end, and wherein the sealing mechanism is
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                                                                configured to seal the main Bore.
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                                                                6.    The method of claim 5, wherein the capping stack comprises a
                                                                BOP or a valve spool.

                                                                7.      The method of claim 5, wherein the capping stack further comprises
                                                                a plurality of side Outlets, each side Outlet having a first end in fluid
                                                                communication with the main Bore, a second end distal the body, and a
                                                                valve disposed between the first end and the second end, wherein each
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                                                                valve is configured to control the flow of fluid through the corresponding
                                                                side Outlet.

                                                                8.    The method of claim 7, wherein (d) comprises actuating the sealing
                                                                mechanism to a closed position.

                                                                9.      The method of claim 8, wherein (d) comprises allowing each valve
                                                                of the plurality of side Outlets to remain in an open position during the
                                                                actuating of the sealing mechanism of the capping assembly to alleviate
                                                                pressure on the WellBore.

                                                                …

                                                                16.   The method of claim 1, wherein the subsea landing site is a
                                                                Wellhead-type coupling at a first end of the BOP.

                                                                 17. The method of claim 6, wherein the capping stack comprises a BOP having a
                                                                Wellhead-type coupling at the second end, and wherein (c) comprises connecting
                                                                the Wellhead-type coupling of the capping stack to the subsea landing site.

                                                                 18. The method of claim 5, wherein (c) comprises using a perforated Riser joint
                                                                coupled to the capping stack to install the capping stack, and allowing hydrocarbons
                                                                to flow through a plurality of holes in the perforated Riser joint.

                                                                 …

                                                                20.    The method of claim 1, further comprising: (e) relieving excessive WellBore
                                                                pressure after (d).

                                                                 …

                                                                33.    The method of claim 32, further comprising: (g) shutting in the WellBore with the
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                                                                second BOP after (f).
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                                                                …
                                                                (Emphasis added)

                                                             18.       The information and input provided by Mr. McIntyre

                                                                regarding his unique novel, concrete, ideas, innovations,


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                                                                designs, calculations, devices, inventions, methods, which

                                                                were not obvious, and he provided to the Defendants, as so

                                                                provided by Mr. McIntyre to the BP Defendants and related

                                                                Defendants, was information regarding his unique and novel

                                                                and concrete and not obvious ideas, innovations, designs,

                                                                devices, calculations, inventions, methods, which he

                                                                provided in confidence to the Defendants and with said

                                                                reliance on, and with the expectation of reasonable

                                                                confidentiality and that he would be compensated for same,

                                                                and his patent rights protected, as to a system and method

                                                                and necessary apparatus for capping a subsea Well Blowout

                                                                and hydrocarbon discharge.              In particular Mr. McIntyre

                                                                provided information so as to allow the Defendants to

                                                                successfully cap the Blown Out Macondo Well, with a

                                                                ventable valve component that could be shut off to

                                                                withstand pressure and thus cap the Well with a component

                                                                connection at the Riser.

                                                             19.       Counsel is mindful of the fact that for those not

                                                                possessing at the Outset detailed knowledge of the drilling
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                                                                industry, some of the issues presented in this matter may
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                                                                seem    somewhat        complex      and      confusing.     This       includes

                                                                terminology        as   to    the   devices,      methods   and     techniques

                                                                suggested     by    Mr.      McIntyre    as   a   result    of    his   unique,

                                                                unprecedented, and non-obvious inventions and methods and

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                                                                information he provided to BP by which they ultimately and

                                                                successfully capped the Macondo Well.

                                                             20.      As an Exhibit to the Second Amended Complaint enclosed

                                                                as Exhibit 1A, 1B, and 1C, incorporated therein and herein

                                                                by reference, is a Patent Application by BP or persons on

                                                                their behalf working with BP. Thus reveals direct use of

                                                                Mr.    McIntyre’s       “landing      site”     and/or    “landing      site

                                                                preparation,” i.e. connection at the Riser and a “ventable

                                                                valve” above the connection, that could be closed off under

                                                                pressure to cap the Well, but if need be, used without

                                                                pressure for collection purposes of spewing hydrocarbon,

                                                                i.e., collecting the discharge of hydrocarbons, while the

                                                                valve was “venting,” and/or to avoid a “broach” of the sub-

                                                                ocean floor strata, i.e. a Riser connection idea with a

                                                                ventable valve and is direct evidence of the merits of

                                                                Plaintiff’s     case    i.e.   that   BP   fraudulently    utilized     the

                                                                concept which Mr. McIntyre provided to them.                    The patent

                                                                application is prima facie proof that Mr. McIntyre ideas,

                                                                method and inventions were unique, novel, non-obvious and
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                                                                feasible and “concrete” to be readily used (as it was by
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                                                                BP) without substantial embellishment.

                                                             21.      The simplest way to understand [what is potentially a

                                                             seemingly complicated, confusing situation] Re: Mr. McIntyre’s

                                                             provision    to   the     BP   Defendants     of   his   unique,   novel   and

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                                                             crucial solution, invention(s), and method(s) to capping the

                                                             runaway “Macondo Blowout” in the Gulf of Mexico [which the BP

                                                             Defendants relied on in capping the Well] is that:

                                                             (1)        McIntyre’s idea was to avoid dismantling the existing

                                                                compromised Blowout Preventer Stack (BOP) components which

                                                                were compromised (due to the lateral forces of the drilling

                                                                rig sinking) and were mounted hydraulically (as attempting

                                                                to    dismantle         same     would    potentially        be       even       more

                                                                catastrophic and result in a much greater free flow);

                                                             (2)        That    is,     Mr.    McIntyre   suggested    the    BP      Defendants

                                                                connect        an   appropriate      light    weight       capping        tool    or

                                                                mechanism       with     an    appropriate    connection     to       a    location

                                                                above the BOP Stack i.e. above the LMRP (which LMRP is the

                                                                top half of the BOP Stack); at the Riser;

                                                             (3)        The    actual    capping    mechanism       would   be    a       “ventable

                                                                valve” to allow the Well flow to be “vented” and then to

                                                                allow closing of the valve to withstand pressure and “cap”

                                                                the Well, but to also allow the Well flow to “vent” if

                                                                necessary, with collection above the venting valve of the
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                                                                spewing hydrocarbons and/or to vent during a hurricane, to
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                                                                avoid    a     subsea    floor,    “broach”    of    the    strata,        with   an

                                                                uncontrollable Blowout and discharge.

                                                             (4)        This connection would be at where the Riser attaches

                                                                to the LMRP;

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                                                             (5)       The flange between the LMRP and the Riser is called

                                                                the “Flex Joint Flange”;

                                                             (6)       Thus it would be crucial to make a connection with a

                                                                “new” un-deformed riser at the Flex Joint Flange (which is

                                                                bolted on, so that a mechanical connection can be used to

                                                                connect to the new un-deformed Riser);

                                                             (7)       This would involve unbolting the deformed Riser at the

                                                                Flex    Joint    Flange     and    bolting      and      installing      a   new

                                                                “straight [un-deformed] Riser”, bolted subsea to the Flex

                                                                Joint Flange i.e., a “landing site” regarding the Riser,

                                                                to in turn allow an appropriate mechanical mechanism to be

                                                                utilized for the       Riser      to be connected to the ventable

                                                                valve shut off system;

                                                                (8)    Thereby avoiding further compromise of the existing

                                                                   BOP and LMRP and Well head connection (which would most

                                                                   likely not allow reconnection) with catastrophic “free

                                                                   flow” potential.

                                                                (9)    THIS IS WHAT BP DID.

                                                             22.       Concerning     the    schematic         of     the      “components”
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                                                                [Exhibit 3] it is important to focus on their order and
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                                                                condition: 1) Well Head on the ocean floor; 2) BOP with

                                                                hydraulic    connection     to    Well   Head;      3)   BOP    failed   and

                                                                compromised;     4)   If    the   Blow   Out     preventer       (BOP)   was

                                                                disconnected at the Well Head (which was in any event not

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                                                                 practical and most likely not considered) there would be

                                                                 free flow – the Blowout and rig sinking had compromised

                                                                 and/or deformed the BOP connection with a drill bit stuck

                                                                 inside;   5)   Moreover,     at   the     BOP/Well   Head   connection

                                                                 there was a “Collett” type of hydraulic connection which

                                                                 was   impacted   by     lateral   force    from   the   drilling    rigs

                                                                 sinking; 6) If disconnection was made at those junctures

                                                                 (BOP/Well Head Collett) or the site of the next hydraulic

                                                                 connection     above it (said connection a hydraulic Collett

                                                                 connection between the BOP and LMRP)1 there would be a

                                                                 significant further catastrophic free flow, and no real

                                                                 chance to reconnect due to deformation(s).              Thus, BP most

                                                                 likely would never be able to reconnect hydraulically to

                                                                 the Well head or to the BOP due to the deformation of the

                                                                 components. Thus Mr. McIntyre’s idea was the critical

                                                                 solution, i.e. to maintain the hydraulic connection(s) at

                                                                 the Well head and/or the connection between the BOP and

                                                                 the LMRP and to unbolt and disconnect the Riser flange

                                                                 mechanism (at the Flex Joint Flange) and bolt on a newly
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                                                                 manufactured      Riser      connection       (un-deformed        and/or
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                                                                 uncompromised)     to    attach/connect      mechanically     a    light



                                                           1
                                                              That would be the “connection” point, using classic pre-spill teachings and
                                                           techniques, one would normally go to; however, deformation of the hydraulic
                                                           components would make disconnect and/or reconnect most likely impossible, and
                                                           thereby precipitate a catastrophic free flow.
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                                                                weight venting valve/shut off system.                       THIS IS WHAT BP

                                                                DID.

                                                                        This    is    also     the    unique,     novel,      unobvious         and

                                                                readily usable and concrete invention(s), system(s), and

                                                                methods for which BP is now seeking a patent

                                                             23.        Mr. McIntyre’s provision of confidential and unique

                                                                information and inventions and methods which were unique,

                                                                novel    and     non-obvious,        included    not       only    the   referenced

                                                                information          as   to   the    “landing     site”          and    information

                                                                regarding “preparation of a landing site,” (at the Riser)

                                                                but     likewise          suggestions      and/or          revelations          and/or

                                                                technical knowledge, knowing that the Well should be capped

                                                                using a ventable valve, i.e. a valve that can be initialy

                                                                vented,        when       connected     at      the        landing       site/Riser

                                                                connection, and then closed off to withstand pressure and

                                                                cap the Well. This concept is a part of the subject of the

                                                                BP     patent,       which     includes      claims        relating       not     only

                                                                identifying and preparing the “landing site”, i.e. at the

                                                                Riser site, and preparation of same, to wit, the crucial
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                                                                connection site proposed by Mr. McIntyre, in order to cap
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                                                                the Well, but further the use of the embodiment of such a

                                                                ventable valve, that could be used to shut off the flow

                                                                from the Blow Out. It is the precise method and technique,

                                                                which     BP     utilized,      after     being       so    suggested       by    Mr.

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                                                                McIntyre, to wit, a connection where he suggested (at the

                                                                Riser)       level,    implementing        the    landing         site    where    he

                                                                suggested, implemented via the disconnection of the Flex

                                                                Joint Flange where he suggested and bolting on a new Riser,

                                                                to connect to and utilize a ventable valve that could be

                                                                closed    off,       which    was   manifested         via   by    BP’s    “capping

                                                                stacks”, and used to cap the Well and is now the subject of

                                                                the patent.

                                                             24.       These crucial concept(s) were imparted by Mr. McIntyre

                                                                to the BP Defendants, with the expectations and reliance

                                                                upon   appropriate         protection      of    his    novel     invention,      non

                                                                disclosure      of    same,    adequate     compensation          for     same,   and

                                                                further, protection of his patent rights.

                                                                       The    BP     Defendants     have   now    utilized        Mr.    McIntyre’s

                                                                novel, unique and non-obvious ideas inventions, concepts,

                                                                and methods in a patent application (Exhibit 1A, 1B, and

                                                                1C) and accordingly Mr. McIntyre should be afforded relief

                                                                not    only     as    to     reasonable     and    just      compensation         for

                                                                provision of the ideas to BP, and their subsequent use
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                                                                thereof, and their unjust enrichment thereby, but as to
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                                                                enforcing his rights to a patent, and benefit there from,

                                                                including correcting the inventor on the patent.




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                                                                       Further, as demonstrated by the Exhibits and will be

                                                                further      demonstrated       as    discovery          goes        forth,2     the    BP

                                                                Defendants          defrauded        Mr.     McIntyre           by      fraudulently

                                                                representing to him that they were not utilizing his idea

                                                                and invention which in fact they were doing so, and did so,

                                                                and fraudulently continuing their refusal to not pay him;

                                                                and fraudulently seeking to patent his ideas with others

                                                                listed as the inventors.

                                                                       Evidence exists at this juncture (See Exhibits and Mr.

                                                                McIntyre’s Affidavit, which were submitted to the Court at

                                                                Docket 52) which demonstrates that due to the timing of

                                                                certain      meetings      with      BP     high     level           executives        and

                                                                Government officials and further other persons working to

                                                                control the spill,(and communications between same) that it

                                                                was    Mr.     McIntyre’s         idea(s),         and     novel         and      unique

                                                                invention(s)        that   precipitated           the     actual        solution       to

                                                                capping the Well.

                                                                       In    that    regard,    it      appears     that        BP    has      falsified

                                                                documents to try and falsely claim and demonstrate, that
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                                                                Mr. McIntyre did not in fact provide them the genesis of
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                                                                the    crucial       solution     and      idea,    and/or           potentially       to

                                                                defraud the Federal Government, in the ongoing litigation

                                                           2
                                                             Plaintiff is filling herewith, a Motion under Rule 56 to seek further
                                                           discovery, for good cause, especially as to the actual use by BP of his
                                                           concepts as originating from him and the timing thereof, and the true
                                                           inventor regarding the patent.
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                                                                with the Federal Government, over the timeliness of the

                                                                means they had to cap the Well and efforts to do so. See

                                                                Exhibits,      Mr.     McIntyre’s     Affidavit   and     Transcripts

                                                                regarding    the     “Deepwater   Horizon”   litigation   (at   Docket

                                                                52).

                                                             25.       The Macondo Well had a subsea Well Bore i.e. a hole

                                                                drilled through and/or beneath the ocean floor.           The Well

                                                                Head of the subsea Well Bore, is at the ocean floor. Above

                                                                the subsea Well Bore, attached to the Well head via a

                                                                hydraulic “collect” connection, was a subsea Blowout

                                                                Preventer (BOP) which was designed, normally to close tight

                                                                and thus shut off, or cap, or stop, a Blowout such as

                                                                occurred in the Macondo Blowout.

                                                             26.       That subsea Blowout Preventer (BOP) was mounted to the

                                                                Well head.

                                                             27.       A Lower Marine Riser Package (LMRP) was hydraulically

                                                                coupled via a collection to the BOP, i.e. above the BOP,

                                                                with an Upper Riser (“Upper Riser”) extending from the

                                                                LMRP, above the LMRP from the Riser Flex Joint, to a semi
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                                                                submersible drill rig/drilling platform floating on the
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                                                                ocean surface See, Schematic of said configuration as

                                                                Exhibit 3.

                                                             28.       Due to the configuration of said devices, (BOP, LMRP,

                                                                Riser Flex Joint, Upper Riser) and the nature of the

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                                                                Blowout, the most practical and successful way, which was a

                                                                novel way, and a concrete way and was unprecedented in the

                                                                industry and not obvious given the procedures in the

                                                                industry,     (and was ultimately used by the BP Defendants

                                                                per Mr. McIntyre’s suggestions and ideas), to cap the

                                                                Blowout, was to make an appropriate connection at the Upper

                                                                Riser (with a new un-deformed riser bolted at the Riser

                                                                Flex Joint), which would allow a connection for appropriate

                                                                ventable valve device(s) and setting(s) to allow

                                                                collection, and/or control and/or shut off of the

                                                                discharging hydrocarbon(s).

                                                             29.      The methods, system, unique ideas, innovations,

                                                                designs, calculations, inventions, concepts, which Mr.

                                                                McIntyre provided to the Defendants, as suggested by Mr.

                                                                McIntyre, to the BP Defendants, are and/or were novel and

                                                                concrete, and unprecedented in the industry, to do so in a

                                                                subsea fashion, as was substantially utilized by the BP

                                                                Defendants to cap the Well.

                                                             30.      These suggestion(s), invention(s), system(s),
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                                                                method(s), concepts(s) ideas, innovations, designs,
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                                                                calculations, which Mr. McIntyre provided to the Defendants

                                                                were used by the BP Defendants to install, what they

                                                                eventually called a “capping stack” (new BOP stacks)or

                                                                “transition spool” on top of the LMRP [Lower Marine Riser

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                                                                Package]; which LMRP is a component below the Upper Riser

                                                                (See Exhibit 3). This Upper Riser served as a “landing

                                                                site” on top of the original BOP, i.e. on top of the LMRP

                                                                [i.e. the Upper Riser severed as a subsea connection for

                                                                the new “capping stack” or transition spool i.e. BP

                                                                attached new BOP(s) [at and/or with Mr. McIntyre’s subsea

                                                                connection at his suggested site regarding Upper Riser] so

                                                                as to include Mr. McIntyre’s idea(s) as set out supra,

                                                                which were and/or are, unique, novel and unprecedented, and

                                                                concrete.

                                                             31.      Mr. McIntyre’s ideas, inventions, systems, designs,

                                                                concepts, devices, and methods were novel, concrete and a

                                                                product of his trade secrets and engineering ingenuity, and

                                                                used by the Defendants to make such a connection to the

                                                                Upper Riser, as a landing site for the new BOP Stacks and

                                                                to then shut in the Well Bore with the “capping stack” or

                                                                “transition spool” (i.e. a ventable valve assembly that

                                                                could be closed down and withstand pressure and cap the

                                                                Well), after installing the capping stack(s) on to this
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                                                                unique subsea landing site. Mr. McIntyre’s input was an
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                                                                important novel and unique and unprecedented concept,

                                                                design and invention, which was imparted by Mr. McIntyre to

                                                                the Defendants, which allowed them to successfully cap the

                                                                Well, and was the invention, method, system and suggestion,

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                                                                that the connection between any capping stack, or ventable

                                                                shut off valves, be to the Upper Riser, as opposed to a

                                                                method by which the Blow Out Preventer (BOP) or the Lower

                                                                Marine Riser Package (LMRP) would have to be removed,

                                                                hydraulically, especially given the compromised nature of

                                                                the components and/or connection, including the Well head

                                                                and/or the BOP and/or the LMRP and the connection between

                                                                same, and their assorted hydraulic components, and the

                                                                potential for catastrophic free flow.

                                                             32.      The information and input provided by Mr. McIntyre to

                                                                the Defendants as to his engineering and trade secrets/ and

                                                                potential suggested system, method, and relevant apparatus

                                                                for capping a subsea Well, in a blow out situation, such as

                                                                that presented by the Macondo Blowout, were not only

                                                                utilized by the Defendants to cap the Well, but was, and/or

                                                                is the basis of, a subsequently filed and/or current patent

                                                                application to the benefits of the Defendants and/or

                                                                related entities (see Exhibit A, 1B, and 1C), by where

                                                                Defendants have and/or are seeking to misappropriate Mr.
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                                                                McIntyre’s trade secrets and/or patent rights.
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                                                             33.      At the time Mr. McIntyre imparted such information to

                                                                the Defendants to allow them, to successfully cap the Blown

                                                                Out Well, he had not previously disclosed such information

                                                                to the public, and Mr. McIntyre disclosed the information

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                                                                to the Defendants, in light of the national emergency

                                                                nature of the situation, with the reasonable expectations

                                                                and reliance that they would maintain confidentiality, and

                                                                Mr. McIntyre would be appropriately compensated, in a

                                                                reasonable fashion and furthermore his invention and/or

                                                                ideas, and/or trade secrets, and/or patent rights would be

                                                                protected and      not be misappropriated by the Defendants or

                                                                others, or inappropriately disclosed and published

                                                             34.      As reflected by certain evidence of record (See

                                                                Exhibits and Mr. McIntyre’s affidavit at Docket 52), to be

                                                                further supplemented by appropriate discovery, although the

                                                                Defendants deny that their use of the referenced and

                                                                relevant capping, collecting and ventable valve cut off

                                                                system for the Blow Out and/or their patent application was

                                                                a result of and/or product of Mr. McIntyre’s input and

                                                                suggestions, in point of fact, the Defendants use of a

                                                                device, system or concept to cap the Well and the patent

                                                                application or applications were and are as a result of Mr.

                                                                McIntyre’s input and efforts, as demonstrated by certain
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                                                                timing, meetings, email communications, records,
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                                                                communications to the public, and use of said component(s)

                                                                by BP Exploration & Production, Inc. and BP America

                                                                Production Company, ect., in reference to the Mancondo Well



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                                                                Blow Out and pollution control effects, and the patent

                                                                application(s).

                                                             35.        It appears BP has falsified documents and evidence to

                                                                falsely     portray      when     they     developed      and/or      used    Mr.

                                                                McIntyre’s ideas and/or fabricated equipment as to same.

                                                                They did so to defeat Mr. McIntyre’s claims and further as

                                                                a part of their ongoing efforts to mislead and/or defraud

                                                                the U.S. Government as to issues concerning when they had

                                                                the available technology to cap the well as opposed to

                                                                using    other    inappropriate          methods   such    as    “Junk       Shot”

                                                                method,     etcetera.       (See     Exhibits      and     Mr.        McIntyre’s

                                                                Affidavit at Docket 52).

                                                             36.        Note that concerning the Statute of Limitations, the

                                                                beginning of the Statue of Limitations does not actually

                                                                start at the time that Mr. McIntyre had notice that BP was

                                                                using     his    novel,    unique        and   non-obvious       and    crucial

                                                                invention       and/or    ideas    and/or      concepts     and/or      methods

                                                                and/or solution in capping the Macondo Well on July 15,

                                                                2010. That may be the first time he had notice, they may
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                                                                have been using same, but not the first time he received
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                                                                notice    they    were    not   going     to   compensate       him    for   same

                                                                and/or fraudulently claimed that it was their idea and/or

                                                                seek a patent for same and/or take other actions contrary

                                                                to his interest. The patent was not applied for until on or

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                                                                about April 13, 2011, and apparently not published until

                                                                January 24, 2013, which may be the actual earliest kickoff

                                                                date for the Statute of Limitations.

                                                                            III. PLAINTIFF MCINTYRE’S CAUSES OF ACTION

                                                                                                COUNT I

                                                                                                CONTRACT

                                                             37.      Due to the circumstances in which the information and

                                                                input were solicited from Mr. McIntyre, and was received

                                                                and used by the Defendants, a contract in fact, and at law,

                                                                arose and existed for him to be reasonably compensated for

                                                                the use of his work, and for his trade secrets and/or

                                                                designs, concepts, information, and invention, and patent

                                                                rights to be protected, and not misappropriated or

                                                                inappropriately disclosed or published, and the Defendants

                                                                had, and have, a duty to honor to protect same, and the

                                                                Defendants failed and refused, and are refusing to do so,

                                                                and breached that contract, by using the information to

                                                                their substantial benefit, and refusing to compensate him

                                                                and disclosing his information, and fraudulently filing a
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                                                                patent application and accordingly, he should be
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                                                                compensated in a appropriate fashion due to the breach and

                                                                his patent rights preserved, protected and restored.




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                                                                                                COUNT II

                                                                                            QUASI CONTRACT

                                                             38.      Plaintiff hereby realleges, and incorporates by

                                                                reference and incorporates by reference, all the

                                                                allegations contained in paragraphs 1 through 37 as if

                                                                fully set forth herein.

                                                             39.      The use of the information and/or system(s) and/or

                                                                method(s)and/or design(s) and/or concept(s) and/or

                                                                invention from Mr. McIntyre imparted by Mr. McIntyre to the

                                                                Defendants, to cap the Well was of exceptional value and

                                                                benefit to the Defendants as it was literally used by

                                                                Defendants to preclude hundreds of millions of dollars in

                                                                fines and/or sanctions by the U.S. Government and further

                                                                millions of dollars in cleanup costs, for which the

                                                                Defendants were responsible and to seek a patent worth

                                                                hundreds of millions of further revenue from same and a

                                                                quasis contract arose to compensate Mr. McIntyre and

                                                                protect his rights, and Defendants are liable for their
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                                                                conduct, and should be ordered to compensate Mr. McIntyre
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                                                                and restore his patent rights.

                                                                                               COUNT III

                                                                                          UNJUST ENRICHMENT



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                                                             40.      Plaintiff hereby realleges, and incorporates by

                                                                reference and incorporates by reference, all the

                                                                allegations contained in paragraphs 1 through 38 as if

                                                                fully set forth herein.

                                                             41.      Due to the circumstances in which the information and

                                                                input was solicited by the Defendants, imparted to the

                                                                Defendants by Mr. McIntyre, and the use of same, Defendants

                                                                derived a substantial benefit from the same, and it is

                                                                inequitable and a violation of the doctrine of unjust

                                                                enrichment to not compensate Mr. McIntyre, and not to

                                                                restore and protect his rights, and the Defendants should

                                                                be ordered to do so.

                                                                                                COUNT IV

                                                                                 MISAPPROPRIATION OF TRADE SECRETS

                                                             42.      Plaintiff hereby realleges and incorporates by

                                                                reference, all the allegations contained in paragraphs 1

                                                                through 40 as if fully set forth herein.

                                                             43.      Due to the circumstances in which Mr. McIntyre

                                                                provided the information and input to the Defendants, in
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                                                                response to their solicitation and requests, and the
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                                                                Defendant’s conduct, the Defendants misappropriated Mr.

                                                                McIntyre’s trade secrets, as he had a reasonable

                                                                expectation of confidentially and protection, as to the use

                                                                or disclosure by the Defendants, and they were not

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                                                                previously or contemporarily, disclosed to the public, and

                                                                Mr. McIntyre had a reasonable expectation that his trade

                                                                secrets would not be misappropriated by the Defendants, or

                                                                misused, or used or disclosed without adequate protection

                                                                and compensation, and the Defendants are culpable and

                                                                liable for doing so.

                                                                                                COUNT V

                                                                    NECESSITY TO CORRECT INVENTOR ON A PATENT/TRUST RIGHTS

                                                             44.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 42 as if fully set forth herein.

                                                             45.      The Defendants misappropriated Mr. McIntyre’s ideas,

                                                                invention, system, methods, designs, concepts in bad faith

                                                                and fraudulently and without due compensation and in their

                                                                own right and/or through related persons or entities

                                                                misappropriating same, and applied for and/or are applying

                                                                for a patent (See Exhibits 1A, 1B, and 1C) falsely claiming

                                                                they and/or their agents and/or related entities or persons

                                                                were the inventors, when in fact Mr. McIntyre was the
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                                                                inventor; accordingly, there should be a correction as to
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                                                                the inventor on the patent and Mr. McIntyre should have all

                                                                rights of, and protection from, and ownership of the

                                                                patent(s,) and the fruits of the patent(s), and all

                                                                subsequently related patent(s), and proceeds related to the

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                                                                patent subject(s) of disclosure by Mr. McIntyre and/or an

                                                                actual or constructive trust should be imposed on same.




                                                                                                COUNT VI

                                                                       MISAPPRORIATION OF AN INVENTION AND PATENT RIGHTS

                                                             46.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 44 as if fully set forth herein.

                                                             47.      The Defendants misappropriated Mr. McIntyre’s

                                                                invention(s) which were unique and concrete, and had not

                                                                been disclosed to the public, and were disclosed to

                                                                Defendants under the expectations and in reliance that they

                                                                would be retained for Mr. McIntyre, and protected, and

                                                                preserved and remain confidential, as to all rights to same

                                                                including the above referenced         trade secrets and patent

                                                                rights, and Defendants proceeded to misappropriate and

                                                                inappropriately disclose and publish said secret

                                                                rights/patent rights he had, as a result, and accordingly
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                                                                all trade secrets/patent rights and the fruits and proceeds
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                                                                thereof should be restored to Mr. McIntyre and the true

                                                                inventor in the patent, be corrected, and Defendants are

                                                                liable for their culpable conduct as to same.



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                                                                                               COUNT VII

                                                                   FRAUD AND FRAUDULENT CONDUCT AND CONCEALMENT AS TO USE OF

                                                                                           IDEAS AND PATENT

                                                             48.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 46 as if fully set forth herein.

                                                             49.      The Defendants fraudulently told Mr. McIntyre they

                                                                were not using his information and/or input and/or system

                                                                and/or methods and/or invention(s) and/or concepts and

                                                                fraudulently concealed their use to cap the Well, and Mr.

                                                                McIntyre did not learn they were in fact doing so until at

                                                                the earliest July 15, 2010, and the patent was not

                                                                published until January 24, 2013.

                                                             50.      The fraud was both; 1) as to use of Mr. McIntyre’s

                                                                ideas to cap the Well and not compensate him; and 2) As to
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                                                                the patent and misappropriation of his patent rights.
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                                                             51.      Accordingly, Defendant(s) are liable for all money due

                                                                to compensate Mr. McIntyre as to said fraud, including

                                                                compensation regarding use of Mr. McIntyre’s inventions,

                                                                and from said patent(s) and compensation for and/or

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                                                                restoration of his patent rights and secrets, and as suit

                                                                in this matter was brought on or about July 9, 2012, all of

                                                                Plaintiffs Causes of Actions are timely and preserved.



                                                                                               COUNT VIII

                                                                               FRAUD PLEAD WITH MORE SPECIFICATION

                                                             52.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 50 as if fully set forth herein.

                                                             53.      As set out above, Mr. McIntyre provided such

                                                                information and input as to his invention and ideas and

                                                                system and methods and design and devices and methods of

                                                                capping a subsea Well, to the Defendants with the

                                                                reasonable expectation that they would remain confidential,

                                                                and BP Defendants would compensate him for same, that they

                                                                would not unjustly enrich themselves with same, that they

                                                                would acknowledge Mr. McIntyre as the source of the

                                                                original use of same, and that they would not steal or

                                                                misappropriate or inappropriately disclose or publish his
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                                                                trade secrets or patent rights, and would preserve and
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                                                                protect his rights.

                                                             54.      On numerous occasions (See Exhibits and Affidavit of

                                                                Mr. McIntyre at Docket 52), the Defendants fraudulently



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                                                                informed Mr. McIntyre that they were not using or

                                                                benefiting from his information and input.

                                                             55.      In point of fact as reflected by said Exhibits and

                                                                Affidavit of Mr. McIntyre at Docket 52 and further the

                                                                timing of the use of the system(s) and method(s) to cap the

                                                                Well, and the disclosure of the intention to use same

                                                                and/or use of same, to the Federal Government, and other

                                                                parties, and the nature of the device(s) used, by the

                                                                Defendants, the Defendants were fraudulently telling Mr.

                                                                McIntyre they were not using or benefiting from his

                                                                information and input and system and methods and invention

                                                                and/or that they would pay him for same and fraudulently

                                                                filed a patent. See Exhibits 1A, 1B, and 1C.

                                                             56.      The fraud was both; 1) as to use of Mr. McIntyre’s

                                                                ideas to cap the Well and not compensate him; and 2) As to

                                                                the patent and misappropriation of his patent rights.

                                                             57.      Accordingly, Defendant(s) are liable for all money due

                                                                to compensate Mr. McIntyre as to said fraud, including

                                                                compensation regarding use of Mr. McIntyre’s inventions and
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                                                                methods and compensation for and/or restoration of his
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                                                                patent rights secrets, and as suit in this matter was

                                                                brought on or about July 7, 2012, all of Plaintiffs Causes

                                                                of Actions are timely and preserved.



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                                                                         a) It is important to recognize that perhaps part of

                                                                            the actual apparatus used as a “capping stack” or

                                                                            transition spool by the Defendants to cap the

                                                                            Well may not have been novel or new, but was

                                                                            simply existing technology.          However, it was the

                                                                            use of the connection at the Riser Flex Joint

                                                                            i.e. at the Upper Riser above the BOP and LMRP

                                                                            with a ventable valve which was novel, and

                                                                            concrete, and first suggested by Mr. McIntyre.

                                                                            For instance, in a report styled In re: Oil Spill

                                                                            by the Oil Rig “Deepwater Horizon” in the Gulf of

                                                                            Mexico, on April 20, 2010, an expert Iain Adams

                                                                            actually retained by BP so indicated May 10,

                                                                            2013(See Exhibit 55). As a part of the fraud, in

                                                                            order to conceal the fact that it was Mr.

                                                                            McIntyre’s input, suggestions, trade secrets,

                                                                            patent rights referencing his system and methods

                                                                            and appropriate apparatus for capping a subsea

                                                                            Well properly that was used by BP, to cap the
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                                                                            Well, BP has falsified documents including
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                                                                            falsifying documents maintaining certain devices

                                                                            were actually fabricated prior to the time they

                                                                            were actually engineered and fabricated. See



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                                                                            Exhibits and Mr. McIntyre’s Affidavit at Docket

                                                                            52.

                                                                         b) Part of the fraud perpetrated by BP and still

                                                                            being perpetrated by BP was the fact that BP

                                                                            utilized other methods to attempt to cap the Well

                                                                            which were unsuccessful and resulted in

                                                                            extraordinary continuing damage and pollution at

                                                                            a time, when in fact they had the information

                                                                            from Mr. McIntyre that would allow them to

                                                                            successfully cap the Well.           They actually had

                                                                            built the device and chose not to use same, and

                                                                            were not appropriately disclosing same to the

                                                                            U.S. Government, i.e. the existence of Mr.

                                                                            McIntyre’s information and input, the fabrication

                                                                            of the device, and the feasibility of using same.

                                                                            They are continuing with misrepresentations

                                                                            regarding access to and use of same, in the

                                                                            litigation styled In Re: Oil Spill by the Oil Rig

                                                                            “Deepwater Horizon” in the Gulf of Mexico, on
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                                                                            April 20, 2010.      The other methods that we used
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                                                                            and or attempted, which were unsuccessful, and

                                                                            not used included “junkshot” method and “Topkill”

                                                                            method



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                                                                         c) In order to understand the importance of Mr.

                                                                            McIntyre’s contributions, from his input and

                                                                            information related to his trade secrets,

                                                                            engineering expertise, suggestions and system and

                                                                            method for capping a subsea Well and related

                                                                            apparatus, one must focus on the considerations

                                                                            BP was utilizing to cap the Well, the anticipated

                                                                            difficulties and potential damages for same and

                                                                            the timing relating to such consideration and

                                                                            their eventual use of Mr. McIntyre’s method;

                                                                                    i)    The Blow Out damaged the Blow Out

                                                                            preventers and the Riser above the BOP and the

                                                                            LMRP.

                                                                                    ii)   The configuration of the Well as noted

                                                                            included a Well Bore, a Well head, a Lower Marine

                                                                            Riser Package (LMRP) coupled to and above BOP.

                                                                            (See Exhibit 3) The actual configuration begins

                                                                            with the Well head over the Well Bore, and the

                                                                            Lower unit of the BOP is hydraulically connected
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                                                                            to the Well casing i.e. at the Well Head, and
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                                                                            those connections are neither unique and/or novel

                                                                            and were routinely used in the industry before

                                                                            this accident. The LMRP which is above the lower

                                                                            BOP has a similar hydraulic connection.

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                                                                                   iii) The Riser extends from and above the

                                                                            LMRP. The Lower portion of the referenced

                                                                            apparatus, i.e. the BOP, has “sheer rams” to cut

                                                                            pipe, in the Lower part of the BOP, which is

                                                                            anticipated to operate to cut the pipe and cap

                                                                            the Well, and above that, annular preventers

                                                                            (more BOPs), The annular preventers are connected

                                                                            hydraulically to the Lower section of the BOP.

                                                                            Initial consideration was given to bring in, and

                                                                            placing on the malfunctioning BOP(s) and/or

                                                                            replacing same with hydraulic connections a new

                                                                            “stack” of Blow Out Preventers. That would have

                                                                            involved dangers from trying to disassemble the

                                                                            existing BOP assembly and/or replacing undue

                                                                            weight on the existing assemble with possible

                                                                            further disruption of the apparatus and

                                                                            exacerbated the flow of oil.         This could

                                                                            eventually breach, at subsea the apparatus with

                                                                            exacerbated Well flow. For portions of the time,
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                                                                            when efforts were on going to cap the Well,
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                                                                            consideration was being given to this method, and

                                                                            continuation of the dangers thereof.

                                                                                   iv)   When Mr. McIntyre’s information was

                                                                            received by BP, after appropriate evaluation,

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                                                                            they switched to consideration of the connection

                                                                            at the Upper Riser, which was part of the crucial

                                                                            information imparted by Mr. McIntyre. In doing so

                                                                            they readapted their Blow Out Preventers to go to

                                                                            a “fail open” status, so the Blow Out Preventers

                                                                            could be utilized in the same method and/or

                                                                            manner as suggested by Mr. McIntyre to wit the

                                                                            Blow Out preventers subsequently referred to as a

                                                                            “capping stack” and/or “transition tool”, that

                                                                            could be attached to the Riser and initially vent

                                                                            the oil but then be used to shut down the flowing

                                                                            cap the Well.

                                                                                   v)    Notwithstanding the fact that BP

                                                                            recognized the dangers of attempting to remove

                                                                            the LMRP and/or and the further complications

                                                                            that would be caused and/or complications from

                                                                            placing the additional stack on the partially

                                                                            removed BOP and notwithstanding the fact that

                                                                            they recognized that there was and is a
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                                                                            reasonable certainty, of capping the Well in a
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                                                                            expeditious fashion using Mr. McIntyre’s

                                                                            information, they delayed in doing so and

                                                                            proceeded with an alternative attempt of

                                                                            “topkill” which exasperated the flow of the oil.

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                                                                            Part of the fraud involved included telling Mr.

                                                                            McIntyre they were not and would not be using his

                                                                            ideas, and/or they were not feasible, and further

                                                                            ongoing efforts to deceive the U.S. Government

                                                                            about the information they had to timely cap the

                                                                            Well.




                                                                                                COUNT IX

                                                                                      BREACH OF CONFIDENTIALITY

                                                             58.      Plaintiff      hereby    realleges     and    incorporates      by

                                                                reference    all    the   allegations   contained   in   paragraphs   1

                                                                through 57 as if fully set forth herein.

                                                             59.      The defendants breached duties of confidentiality as

                                                                to Mr. McIntyre and are liable for all appropriate damages

                                                                caused by same.

                                                                                                COUNT X

                                                                                      BREACH OF FIDUCIARY DUTY

                                                             60.      Plaintiff hereby realleges and incorporates by
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                                                                reference all the allegations contained in paragraphs 1
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                                                                through 59 as if fully set forth herein.

                                                             61.      The Defendants owed Fiduciary Duty to Mr. McIntyre and

                                                                breach of same and are liable for all damages caused for



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                                                                same and should be subjected to all appropriate orders

                                                                affording relief as to same

                                                             62.      This includes the breach by Fiduciary Principals which

                                                                principals are occupying positions of trust for using

                                                                available technology for profit and the benefit of response

                                                                persons developing said technology.

                                                                                                COUNT XI

                                                            CONDUCT OF THE DEFENDANTS CONSTITUTED COMMON LAW THEFT AND THEY

                                                                     ARE LIABLE FOR ALL OF THE PROCEEDS OF THE THEFT

                                                             63.      Plaintiff      hereby    realleges     and    incorporates      by

                                                                reference     all   the   allegations   contained   in   paragraphs    1

                                                                through 62 as if fully set forth herein.

                                                             64.      Conduct of the Defendants constituted common law theft

                                                                and they are liable for all of the proceeds of the theft

                                                                                               COUNT XII

                                                                            MISAPPROPRIATION OF CONFIDENTIAL INFORMATION

                                                             65.      Plaintiff      hereby    realleges     and    incorporates      by

                                                                reference     all   the   allegations   contained   in   paragraphs    1

                                                                through 64 as if fully set forth herein.
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                                                             66.      The     conduct     of   the   defendants     constituted    the
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                                                                misappropriation of confidential information and are liable

                                                                for all damages due to same subjected to all appropriate

                                                                orders affording relief as to same.

                                                                                               COUNT XIII

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                                                                       BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

                                                             67.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 66 as if fully set forth herein.

                                                             68.      Due to the circumstances of the events in question the

                                                                defendants owed the duty of good faith and fair dealing to

                                                                Mr.   McIntyre    which    they    have    and   continue   to   violate

                                                                accordingly they are liable for all damages caused by same

                                                                and   are   subjected     to    all   appropriate    orders   affording

                                                                relief as to same.

                                                                                               COUNT XIV

                                                                                        PUNITIVE DAMAGES

                                                             69.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 68 as if fully set forth herein.

                                                             70.      The conduct of the defendants was unlawful, malicious,

                                                                reckless and with reckless indifference to another person.

                                                           Accordingly, each of the defendants are subjected to punitive

                                                           damages in an appropriate amount with due regard to the nature
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                                                           of the culpable conduct, and the profits derived in a sufficient
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                                                           amount to chill such conduct in future with the due regard of

                                                           the net worth of said defendants as well as the profits obtained

                                                           from said conduct.

                                                                                               COUNT XV

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                                                                                              INJUNCTION

                                                             71.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1

                                                                through 70 as if fully set forth herein.

                                                             72.      The   rights     of    the   Plaintiff   Mr.   McIntyre   and   his

                                                                unique,     novel,     concrete      and   non-obvious       inventions,

                                                                methods, concepts and ideas including his patent rights are

                                                                original    and unique, and         Mr. McIntyre is entitled to a

                                                                injunction precluding and preventing the Defendants from

                                                                maintaining     they   have     proprietary    interest(s)    or   patent

                                                                rights to same and precluding the Defendants from asserting

                                                                or profiting from any such rights or patents or using any

                                                                such devices/patented devices without license.



                                                                                                   COUNT XVI

                                                                   FACTUAL DISPUTE(S) AS TO MATERIAL FACTS AND NECESSITY OF

                                                                                            RESOLUTION BY A JURY

                                                             73.      Plaintiff hereby realleges and incorporates by

                                                                reference all the allegations contained in paragraphs 1
                       (907) 276-1200 Fax (907) 278-6571
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                                                                through 72 as if fully set forth herein.
                             330 L. Street, Suite 200
                              Anchorage, AK 99501




                                                             74.      Although Defendants claim, that they did not utilize

                                                                Mr. McIntyre’s systems and/or methods for capping a subsea

                                                                Well, and his invention, in capping the Blowout of the

                                                                Macondo Well, in point of fact material dispute(s) of

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                                                                fact(s) exist as to same, and the natures of his

                                                                disclosures to the BP Defendants, and his reasonable

                                                                expectations and reliance, which needs to be resolved by a

                                                                Jury. This includes material disputes of fact that exist,

                                                                given the exhibits filed herewith, and responsible

                                                                interpretation of same, and by information and evidence to

                                                                be developed, disclosed and presented via the normal

                                                                delivery process.

                                                                                    XVII. PRAYER FOR RELIEF

                                                                WHEREFORE, Plaintiffs pray that the following relief be

                                                           granted after appropriate proceedings and jury trial and

                                                           verdict and judgment.

                                                                    1. Compensation in the appropriate amount in excess of

                                                                       1,000,000.00 (one million dollars);

                                                                    2. A Constructive Trust be imposed on all the proceeds

                                                                       derived from and/or benefited by the Defendants from

                                                                       their culpable conduct, said Trust to be to the

                                                                       benefit of Mr. McIntyre, including a Constructive

                                                                       Trust regarding patent(s) and patent(s) rights;
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                                                                    3. Full restoration of all patent rights;
                             330 L. Street, Suite 200
                              Anchorage, AK 99501




                                                                    4. Correction of the Patent(s) to properly show Mr.

                                                                       McIntyre as the Inventor and Owner of the Patent(s)

                                                                    5. An injunction against BP asserting patent rights to

                                                                       the inventions and rights of Mr. McIntyre;

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                                                                    6. An injunction against BP as to asserting any

                                                                       proprietary interests in the inventions of those of

                                                                       Mr. McIntyre, or the patents or using or profiting

                                                                       from same, including using any said devices without

                                                                       authorization and/or license from Mr. McIntyre

                                                                    7. For punitive damages in the appropriate amount with

                                                                       due regard to the nature of the culpable conduct and

                                                                       the net worth of the defendants so as to chill and

                                                                       deter similar conduct in the future

                                                                   Such other further relief as is just and equitable.

                                                                   RESPECTFULLY SUBMITTED this 17th day of July, 2014.


                                                                                         /s/ Phillip Paul Weidner
                                                                                         WEIDNER & Associates, APC
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                                                                                         Anchorage, AK 99501
                                                                                         Phone (907) 276-1200
                                                                                         Fax (907) 278-6571
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                                                                                         ABA No. 7305032




                                                           CERTIFICATE OF SERVICE
                                                           I hereby certify that on July 17, 2014, a copy of the foregoing was
                       (907) 276-1200 Fax (907) 278-6571




                                                           served electronically via ECF on the following:
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                                                           Matthew V. Topic                       Dominic E. Draye
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